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                                          1   Christopher M. Curran (pro hac vice)
                                              ccurran@whitecase.com
                                          2
                                              Lucius B. Lau (pro hac vice)
                                          3   alau@whitecase.com
                                              Dana E. Foster (pro hac vice)
                                          4
                                              defoster@whitecase.com
                                          5   White & Case LLP
                                              701 Thirteenth Street, N.W.
                                          6
                                              Washington, DC 20005
                                          7   Telephone: (202) 626-3600
                                              Facsimile: (202) 639-9355
                                          8
                                          9   Counsel to Defendants Toshiba Corporation,
                                              Toshiba America, Inc., Toshiba America
                                         10
                                              Information Systems, Inc., and Toshiba
                                         11   America Electronic Components, Inc.
                                         12
             701 Thirteenth Street, NW




                                                                        UNITED STATES DISTRICT COURT
              Washington, DC 20005
White & Case LLP




                                         13                            NORTHERN DISTRICT OF CALIFORNIA
                                                                          (SAN FRANCISCO DIVISION)
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                                              IN RE: CATHODE RAY TUBE (CRT)                     Case No. 07-5944 SC
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                                              ANTITRUST LITIGATION                                MDL No. 1917
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                                              This Document Relates to
                                         19   Case No. 13-cv-1173-SC (N.D. Cal.)
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                                              SHARP ELECTRONICS CORPORATION;
                                         21   SHARP ELECTRONICS MANUFACTURING
                                              COMPANY OF AMERICA, INC.,
                                         22
                                                                                           [PROPOSED] ORDER GRANTING
                                         23                       Plaintiffs,              THE TOSHIBA DEFENDANTS’
                                                                                           MOTION FOR LEAVE TO
                                         24
                                                   v.                                      AMEND THEIR MOTION TO
                                         25                                                DISMISS SHARP’S COMPLAINT
                                              HITACHI, LTD., et al.,
                                         26
                                         27                       Defendants.
                                         28


                                                         [PROPOSED] ORDER GRANTING THE TOSHIBA DEFENDANTS’ MOTION
                                                        FOR LEAVE TO AMEND THEIR MOTION TO DISMISS SHARP’S COMPLAINT
                                                                             Case No. 07-5944 SC
                                                                                MDL No. 1917
                                                 Case 4:07-cv-05944-JST Document 2249-2 Filed 12/09/13 Page 2 of 2




                                          1          Upon consideration of the Toshiba Defendants’ Notice of Motion and Motion for
                                          2   Leave to Amend Their Motion to Dismiss Sharp’s Complaint and supporting Memorandum
                                          3   of Points and Authorities, it is hereby
                                          4          ORDERED that the Toshiba Defendants’ Motion for Leave to Amend Their Motion
                                          5   to Dismiss Sharp’s Complaint is GRANTED; and it is further
                                          6          ORDERED that the Toshiba Defendants have leave to file their Amended Motion to
                                          7   Dismiss Sharp’s Complaint.
                                          8
                                          9          IT IS SO ORDERED
                                         10
                                         11   DATED:__________________                  _______________________________
                                         12                                                       Hon. Samuel Conti
             701 Thirteenth Street, NW
              Washington, DC 20005
White & Case LLP




                                                                                               United States District Judge
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                                                           [PROPOSED] ORDER GRANTING THE TOSHIBA DEFENDANTS’ MOTION
                                                          FOR LEAVE TO AMEND THEIR MOTION TO DISMISS SHARP’S COMPLAINT
                                                                               Case No. 07-5944 SC
                                                                                  MDL No. 1917
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